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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

 

AUGUSTA DIVISION
IN RE: }
JILLIAN W. ANDREWS, ) Chapter 7 Case No. 20-11062-SDB
Debtor. )
)
ASHLEY ANDREWS, )
Plaintiff, } ADVERSARY PROCEEDING NO.:
} 21-01001-SDB
v. )
)
JILLIAN W. ANDREWS, )

Defendant.
RULE 26(f) REPORT
1. Date of Rule 26(f) conference.
ANSWER: June 3, 2021.
2. Parties or counsel who participated in conference.
ANSWER: Nathan Huff, attorney for Plaintiff, and Joseph Spires, attorney for Defendant.

if any defendant has yet to be served, please identify the defendant and state when service
is expected.

Waa

ANSWER: The named defendant has been served.

4, If defendant(s) have failed tc cooperate, please disclose plaintiff's efforts to comply with
26H.

ANSWER: All Defendant(s) have cooperated.
5. Date the Rule 26(a)(1) disclosures were made or will be made.

ANSWER: The parties stipulate that the disclosures will be waived and/or incorporated in
the normal course of discovery.

6. If any part objects to making the initial disclosures required by Rule 26(a}(1) or proposed
changes to the timing or form of those disclosures.
{a} Identify the party or parties making the objection or proposal; and
(b) Specify the objection or proposal.
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ANSWER: Not applicable.

7. The Local Rules provide a 140 day period for discovery. If any party is requesting a
reduction of or additional time for discovery,
(a) Identify ihe party or parties requesting the change.
(b) State the party or parties requesting the change.
(c) Identify the reason(s) for requesting the time change for discovery.
(a) Please provide a brief statement in support of each of the identified reasons.
ANSWER: At this time, no party requests any reduction or additional time for discovery.
8. If any party is requesting that discovery be limited to particular issues or conducted in
phases, please
{a} Identify the party or parties requesting such limits.
(b} State the nature of the proposed limits.
ANSWER: Not applicable.
9. The Local Rules provide, and the Court generally imposes, the following deadlines:
Last day for filing motions to add 60 days after issue is joined
Or join parties or to amend pleadings
Last day to furnish expert witness 60 days after Rule 26(f) conference
report by plaintiff
Last day to furnish expert witness report $0 days after Rule 26() conference
by defendant (or 60 days after the answer, whichever is
later)

Last day to file Rule 7016(b) motion
Regarding entry of final orders and judgments 30 days after close of discevery

Last day to file motions 36 days after close of discovery
Excluding motions in limine

Last day to file motions in limine other 7 days prior to the pre-trial conference
Than Daubert motions

Hf any party requests a modification of any of these deadlines,

(a) identify the party or parties requesting the modification,
(b} State which deadline should be modified and the reason for supporting the request.

ANSWER: No modification is requested at tis time.
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10. ‘If the case involves electronic discovery,
{a} State whether the parties have reached an agreement regarding the
preservation, disclosure, or discovery of electronically stored information, and if
the parties prefer to have their agreement memorialized in the scheduling order,
briefly describe the terms of their agreement:
(b) = Identify any issues regarding electronically stored information as to which
the parties have been able to reach an agreement:

ANSWER: At this time, neither party foresees the need for e-discovery; however, neither
party waives their rights to conduct e-discovery should the need arise.

li. Ifthe case is known to involve claims of privilege or protection of trial preparation material,
(a) State whether the parties have reached an agreement regarding the procedures for
asserting claims of privilege or protection after production either electronic or other
discovery material:

(b) __ Briefly describe the terms of any agreement the parties wish to have memorialized
im the scheduling order (or attach any separate proposed order which the parties are
requesting the Court addressing such matters):

(c) Identify any issues regarding claims of privilege or protection as te which the
parties have been unable to reach an agreement:

ANSWER: The case does not involve claims of privilege or the like.

12. State any other matters the Court should include in its scheduling order.
ANSWER: None at this time.

13. The parties certify by their signatures below that they have discussed the nature and basis
of their claims and defenses and the possibilities of prompt settlement or resolution of the

case. Please state any specific problems that hinder the settlement of the case.

ANSWER: The Parties disagree on the issues of liability and the amount of damages.
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Respectfully submitted as of the 3% day of ume, 2021.

 

 

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